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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF TENNESSEE
                                 EASTERN DIVISION


 UNITED STATES OF AMERICA

 v                                                             Cr. No. 2:05-cr-20038-5-B

 JASON OWENS


                                     ORDER REVOKING BOND

        This cause came on to be heard on Wednesday, July 26, 2006, pursuant to a petition for

 revocation of bond filed by Pretrial Services Officer Murray Fullner, alleging violation of the

 conditions of the defendant's pretrial release. After hearing evidence, the court determined that

 the conditions of the defendant's pretrial release had been violated; therefore, it is ORDERED

 that the defendant's bond be and hereby is revoked. The defendant will be held in custody

 pending the trial of this matter.

        IT IS SO ORDERED.



                                               s/ James H. Allen
                                               JAMES H. ALLEN
                                               UNITED STATES MAGISTRATE JUDGE


                                               DATE: JULY 26, 2006




                               This document entered on the docket sheet in compliance
                               with Rule 55 and/or 32(b) FRCrP on ________________
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